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                EXHIBIT I
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   Attorneys for Plaintiff
 8 RENEE LEPAGE

 9                                UNITED STATES DISTRICT COURT

10              NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

11

12 RENEE LEPAGE, an individual,                      Case No. 3:17-cv-00600-LB

13                 Plaintiff,                        PLAINTIFF’S PROPOSED VOIR DIRE
                                                     QUESTIONS
14        vs.

15 COUNTY OF NAPA; COUNTY OF NAPA
   SHERIFF’S DEPARTMENT; AND DEPUTY
16 TIMOTHY REID,

17                 Defendants.

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                                                                           Case No. 3:17-cv-00600-LB
                                PLAINTIFF’S PROPOSED VOIR DIRE QUESTIONS
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 1         Plaintiff Renee LePage proposes the attached voir dire questions for the trial of this matter.

 2         Ms. LePage separately submitted a proposed jury questionnaire that contains some

 3 additional questions. Defendants object to the use of a jury questionnaire. To the extent the Court

 4 decides not to use a jury questionnaire or omits any of the questions in Ms. LePage’s proposed

 5 jury questionnaire, Ms. LePage respectfully requests that the questions be asked during voir dire.

 6 DATED: September 6, 2019                    MUNGER, TOLLES & OLSON LLP

 7
                                               By:         /s/ Miriam Kim
 8
                                                    MIRIAM KIM
 9                                             Attorneys for Plaintiff
                                               RENEE LEPAGE
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                              PLAINTIFF’S PROPOSED VOIR DIRE QUESTIONS
          Case 3:17-cv-00600-LB Document 120-9 Filed 09/06/19 Page 4 of 4




 1                                PROPOSED VOIR DIRE QUESTIONS
 2 1.       Do you know anyone who has ever been employed by the San Mateo County Sheriff’s
            Office? If so, please explain.
 3
     2.     Would you tend to believe the testimony of a law enforcement officer simply because he/she
 4
            is a law enforcement officer?
 5
     3.     Would you tend to believe the testimony of a law enforcement officer as more accurate or
 6          reliable than the testimony of an average person?

 7 4.       Have you, a relative or close friend ever been accused of excessive force while working in
            law enforcement? If so, please explain.
 8
     5.     Have you, a relative or close friend ever been sued based on conduct that took place while
 9
            working in law enforcement? If so, please explain.
10
     6.     Have you, a relative or close friend ever been sued in any type of lawsuit? If so, please
11          explain.

12 7.       Have you, a relative or close friend ever been accused of abuse or excessive force? If so,
            please explain.
13
     8.     Do you have any personal objection to lawsuits against law enforcement officers? If so,
14
            please explain.
15
     9.     Do you have any personal objection to lawsuits that seek monetary compensation for pain
16          and emotional suffering? If so, please explain.

17 10. Do you have any personal objection to lawsuits that seek monetary compensation for
       punitive damages? If so, please explain.
18
   DATED: September 6, 2019                 MUNGER, TOLLES & OLSON LLP
19

20
                                                  By:         /s/ Miriam Kim
21                                                     MIRIAM KIM
                                                  Attorneys for Plaintiff
22                                                RENEE LEPAGE
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                                 PLAINTIFF’S PROPOSED VOIR DIRE QUESTIONS
